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         13
                                       IN THE UNITED STATES DISTRICT COURT
         14                                 FOR THE DISTRICT OF NEVADA
         15
                   JASMINE SOLARES and ESTEFANIA            CASE NO. 2:24-cv-00881-EJY
         16        CORREA RESTREPO,
                                                            DEFENDANT AMAZON.COM
         17        Plaintiffs,                              SERVICES LLC’S REPLY IN SUPPORT
                                                            OF MOTION TO DISMISS
         18        v.

         19        AMAZON.COM SERVICES LLC,
         20        Defendant.
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            1                                         I.      INTRODUCTION

            2             Each of Plaintiffs’ claims for unpaid wages under the FLSA and Nevada law are foreclosed

            3      as a matter of law and should be dismissed. Plaintiffs’ principal theory is that they should have

            4      been compensated for security screenings under the FLSA, but that contention was rejected by the

            5      U.S. Supreme Court in Integrity Staffing Solutions, Inc. v. Busk, 574 U.S. 27 (2014), and again by

            6      the Ninth Circuit in Buero v. Amazon.com Services, Inc., 61 F.4th 1031 (9th Cir. 2023) (per

            7      curiam). While Supreme Court and Ninth Circuit precedent doom their FLSA claim, Plaintiffs’

            8      Nevada claims likewise fail because Nevada law generally tracks the FLSA—an issue that the

            9      Nevada Supreme Court is likely to definitively decide via a certified question appeal in Malloy v.

         10        Amazon.com Services, LLC. This Court should dismiss this case or, alternatively, stay it pending

         11        the Nevada Supreme Court’s decision in Malloy.

         12               Plaintiffs’ opposition confirms that their FLSA claims are focused on Amazon’s alleged

         13        failure to pay for the time spent in security screening during meal periods, but that time is not

         14        compensable as a matter of law. Plaintiffs assert that this screening was mandatory, but that’s

         15        wrong. As Plaintiffs themselves allege in the complaint, associates could leave the secured area

         16        during meal periods (and therefore undergo screening), but Amazon also “allowed [associates] to

         17        stay in for their Meal Period and eat their meal without submitting to that Meal Period Security

         18        Screening.” FAC ¶ 23. The existence of this choice renders any screening non-compensable. And

         19        time that Plaintiffs spent taking meal periods was not integral or indispensable to their principal

         20        activities. Buero, 61 F.4th at 1033, 1049. In any event, even if Plaintiffs had alleged a plausible

         21        claim for unpaid time, the FAC’s allegations make clear that any unpaid time was de minimis.

         22               Plaintiffs also cannot claim entitlement to unpaid wages under Nevada law because Nevada

         23        law tracks the FLSA. See Terry v. Sapphire Gentlemen’s Club, 336 P.3d 951, 955–56 (Nev. 2014);

         24        Rite of Passage, ATCS/Silver State Acad. v. Nev. Dep’t of Bus. & Indus., 131 Nev. 1338, 2015 WL

         25        9484735, at *1–2 (Nev. Dec. 23, 2015). Therefore, because Plaintiffs’ FLSA fail as a matter of

         26        law, so too do their corresponding state law claims. As for Plaintiffs’ claim under Nevada law

         27        based on postliminary screening, that turns on whether Nevada law follows the federal Portal-to-

         28        Portal Act. Plaintiffs offer almost no argument on that issue, and there is every reason to believe
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            1      that Nevada employment law fully tracks the FLSA, including with respect to the Portal-to-Portal

            2      Act. In any event, the Nevada Supreme Court will likely resolve that issue in Malloy, and Plaintiffs

            3      offer no legitimate reason why this Court should not, at a minimum, stay this action until that

            4      decision is issued.

            5              Whether by dismissal or a stay, Plaintiffs’ claims should not proceed.

            6                                             II.     ARGUMENT

            7      A.      Plaintiff’s FLSA Claim Fails as a Matter of Law

            8              Plaintiffs’ FLSA claim fails because the time spent in meal period security screening,

            9      walking to and from on-site breakrooms, and waiting to clock back in after meal periods is not

         10        compensable under the applicable three-prong test: (1) is the activity work; (2) is the activity an

         11        integral and indispensable duty; and (3) is the activity de minimis. Bamonte v. City of Mesa, 598

         12        F.3d 1217, 1224 (9th Cir. 2010); see Dkt. 15 (“Mot.”) 6–14. Plaintiffs’ opposition focuses on their

         13        meal period screening theory and largely abandons their walking to breakrooms and waiting to

         14        clock back in theories. But regardless of the particular theory, Plaintiffs’ FLSA claim fails at every

         15        step.

         16                1.     Time Spent in Meal Period Screening Is Not Compensable

         17                Any time Plaintiffs spent in meal period screening if they chose to use a particular

         18        breakroom or left the facility cannot be considered compensable under any part of the FLSA’s

         19        three-part test. Plaintiffs cannot resort to a novel application of offensive nonmutual collateral

         20        estoppel to avoid dismissal. This theory of liability fails.

         21                       a.      Meal Period Screening Is Not “Work” Because It Is Voluntary

         22                The time spent in meal period screening is not “work” under the FLSA because meal period

         23        screenings are voluntary and are not “pursued necessarily and primarily for the benefit of

         24        [Amazon].” Bamonte, 598 F.3d at 1224–25. Plaintiffs contend that going through screenings

         25        during meal periods was required, but the allegations in the FAC (Dkt. 23) make clear that is not

         26        true. Moreover, Plaintiffs have not plausibly alleged in the FAC, and do not meaningfully argue

         27        in their opposition, that the screenings benefit Amazon.

         28                “[E]ntirely optional” activities or activities that reflect employee choice, not an employer’s
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            1      requirement, do not constitute work under the FLSA. Bamonte, 598 F.3d at 1225; see Ashely v.

            2      Youngblood, 2017 WL 2672752, at *4–6 (E.D. Cal. June 21, 2017) (dismissing FLSA claim where

            3      the employee preferred, but was not required, to change clothes at work). Plaintiffs do not allege

            4      that they were required to go through meal period screening. To the contrary, Plaintiffs allege

            5      “Amazon allowed [associates] to stay in for their Meal Period and eat their meal without

            6      submitting to that Meal Period Security Screening.” FAC ¶ 23 (emphasis added). This allegation

            7      dooms their meal period screening theory because they concede that screening was not required.

            8             Plaintiffs insist otherwise in their opposition, however, asserting that going through

            9      screening was their only option. Plaintiffs argue that they cannot eat at their workstations and only

         10        25% of associates can fit into the “secondary” breakrooms that allow them to avoid screening.

         11        Dkt. 27 (“Opp.”) 3–4. But tellingly, Plaintiffs do not allege even a single instance when they tried

         12        to take their meal period in the secondary breakrooms but were instead forced to leave and walk

         13        through screening. See Landers v. Quality Commc’ns, Inc., 771 F.3d 638, 646 (9th Cir. 2014)

         14        (requiring FLSA plaintiff to allege a particular workweek where a violation occurred). Because

         15        plaintiffs do not “identify, much less describe, a single instance where [Amazon]” forced them to

         16        undergo meal period screening, this activity was not required. Ritenour v. Carrington Mortg.

         17        Servs. LLC, 228 F. Supp. 3d 1025, 1033 (C.D. Cal. 2017).

         18               “Work” under the FLSA also is limited to activities that are “pursued necessarily and

         19        primarily for the benefit of” Amazon. Bamonte, 598 F.3d at 1224–25. And an “employee’s choice

         20        to exit Amazon’s premises in the middle of a work shift . . . serves no benefit upon Amazon.”

         21        Vaccaro v. Amazon.com.dedc, LLC, 2020 WL 3496973, at *6 (D.N.J. June 29, 2020). This is the

         22        very situation here—Plaintiffs can choose to leave LAS2 during meal periods, which does not

         23        benefit Amazon. Plaintiffs offer no response to Vaccaro nor do they argue how meal period

         24        screenings primarily benefited Amazon. See Opp. 11. Nor can they because, as Plaintiffs concede,

         25        “[e]mployers need not allow employees to leave the work premises for a meal break” in the first

         26        place. Id. at 5 n.2. Rather than requiring associates to leave, Amazon provides associates with a

         27        choice and Vaccarro made clear an “employee’s choice to exit Amazon’s premises in the middle

         28        of a work shift serves no benefit upon Amazon” and is the consequence of “the employee’s choice
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            1      to exit Amazon’s premises in the middle of a work shift.” Vaccaro, 2020 WL 3496973, at *6.

            2                     b.       The Screenings Are Not Integral or Indispensable To Plaintiffs’
                                           Principal Activities
            3
                          Plaintiffs also fail to plausibly allege that meal period screening is an “integral and
            4
                   indispensable” duty, which is required for the screening to be compensable under the FLSA.
            5
                   Bamonte, 598 F.3d at 1224. Plaintiffs’ opposition is notably silent on how Amazon’s security
            6
                   screening could plausibly constitute an integral or indispensable part of Plaintiffs’ principal work
            7
                   activities. That is likely because multiple decisions have held that security screening is not
            8
                   “integral and indispensable” to an employee’s principal activities.
            9
                          The Supreme Court in Busk held that pre- and post-shift security screenings were not
         10
                   compensable because they were not “integral and indispensable” to the associates’ principal
         11
                   activities because such “screenings [are] not an intrinsic element of retrieving products from
         12
                   warehouse shelves or packaging them for shipment.” 574 U.S. at 28, 35. And more recently, the
         13
                   Ninth Circuit held that security screening during meal periods was not compensable under the
         14
                   FLSA because the plaintiff “fail[ed] to allege that undergoing a mandatory security screening is
         15
                   ‘an integral and indispensable part’ of an employee’s principal activities.” Buero, 61 F.4th at 1033,
         16
                   1049. Under Busk and Buero, meal period screening is not integral or indispensable to Plaintiffs’
         17
                   principal activities because Amazon does “not employ [Plaintiffs] to undergo security screenings.”
         18
                   Busk, 574 U.S. at 35.
         19
                          Plaintiffs argue that Buero is distinguishable because here, unlike in Buero, Plaintiffs
         20
                   supposedly did not have a choice whether to leave the facility during meal periods. Opp. 4–5. But
         21
                   as explained above, Plaintiffs’ own allegations concede that going through meal period screening
         22
                   is a voluntary choice. See Mot. 6–7; see supra 2–3. Moreover, Buero expressly held that failure
         23
                   to allege that meal period screening is “integral and indispensable” is itself grounds for dismissal.
         24
                   As in Buero, Plaintiffs do not allege that screening was “integral and indispensable.”
         25
                          Plaintiffs next insist that several Fourth and Seventh Circuit decisions cited by Amazon are
         26
                   “nonsensical,” “inscrutable,” “flawed,” and “remarkable.”          Opp. 12–15.       But Plaintiffs’
         27
                   disagreement with the outcomes of those cases does not change the fact that they are persuasive
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            1      authority here. Plaintiffs concede as much in their opposition by citing another Fourth Circuit

            2      opinion, Perez v. Mountaire Farms, Inc., and noting that “[Perez] nonetheless reversed the district

            3      court, finding it was ‘required’ to do so by Sepulveda”—one of the cases cited by Amazon. Id. at

            4      14. Plaintiffs also do not dispute that the takeaway from each case is clear: “all 30 minutes [of

            5      break time], including changing time, are excluded from worktime and therefore need not be

            6      compensated.” Mitchell v. JCG Indus., Inc., 745 F.3d 837, 841 (7th Cir. 2014); see Sepulveda v.

            7      Allen Family Foods, Inc., 591 F.3d 209, 216 n.4 (4th Cir. 2009) (time spent “during [employees’]

            8      lunch breaks donning and doffing a few items, washing, and walking to and from the cafeteria . . .

            9      is non-compensable”). Applying Mitchell and Sepulveda as persuasive authority, the time spent

         10        going through optional meal period screening is not integral and indispensable to Plaintiffs’ duties.

         11                Plaintiffs also contend that Mitchell is distinguishable because Plaintiffs allege that they

         12        did “not receive . . . a bona fide meal period.” Opp. 14–15 (citing FAC ¶ 49). Plaintiffs have a

         13        conclusory allegation that “Plaintiffs and/or some of those similarly situated worked [sic] for

         14        Amazon at LAS2 . . . were provided an amount of time of less than 30 minutes . . . during that

         15        Meal Period in which they were freed of all duties by Amazon.” FAC ¶ 49. But generalized

         16        allegations of non-bona fide meal periods will not suffice. See Landers, 771 F.3d at 645–46; Perez

         17        v. DNC Parks & Resorts at Ailomar, Inc., 2022 WL 411422, at *4 (E.D. Cal. Feb. 10, 2022)

         18        (“[P]laintiffs must allege facts specifically identifying an instance where they were deprived of a

         19        meal . . . break.”); Parsittie v. Schneider Logistics, Inc., 2019 WL 8163645, at *6 (C.D. Cal. Oct.

         20        29, 2019) (“[A] plaintiff [must] allege actual dates of occurrences of any purported break

         21        violations.”). Plaintiffs do not plausibly allege that they were denied of any bona fide meal periods.

         22                Finally, Plaintiffs assert that time spent in screening is compensable because they were

         23        subsequently required to move to new workstations. Opp. 19–20. But the complaint makes clear

         24        that Plaintiffs are compensated for their actual “travel” time between workstations. FAC ¶¶ 21,

         25        27–28; see Mot. 9. Just because Plaintiffs go to a new workstation after their meal period does not

         26        mean that the time they spend walking during their meal periods is “integral and indispensable” to

         27        Plaintiffs’ duties.

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            1                     c.      The Screening Time Is De Minimis

            2             Even if compensable, time not captured does not need to be compensated if it is de minimis.

            3      Most courts interpret de minimis to be “daily periods of approximately 10 minutes.” Lindow v.

            4      United States, 738 F.2d 1057, 1062 (9th Cir. 1984).            In determining whether otherwise

            5      compensable time is de minimis, courts consider the practical administrative difficulty of recording

            6      the additional time, the aggregate amount of compensable time, and the regularity of additional

            7      work. Id. at 1063. Applying these factors, Plaintiffs’ own allegations establish that the time spent

            8      in meal period screening is de minimis. See Mot. 10–11.

            9             First, Plaintiffs’ allegations admit that that entire screening process was four to nine

         10        minutes. See FAC ¶¶ 24, 26. While Amazon disputes that the screening takes anywhere near this

         11        long, this admission places the time well-within the standard ten-minute window. See Alvarez v.

         12        IBP, Inc., 339 F.3d 894, 904 (9th Cir. 2003), aff’d, 546 U.S. 21 (2005).

         13               Second, as discussed above, the complaint makes clear that the screenings at issue were

         14        not required. Plaintiffs assert in their opposition that they went through meal period screening

         15        “during 75% of their shifts,” Opp. 17, but even if true that still does not mean that any “mandatory”

         16        screening was so regular that it should be considered compensable.

         17               Plaintiffs argue that it is not administratively difficult for Amazon to capture the additional

         18        time by placing time clocks after its screening stations. Opp. 21. But there is no such allegation

         19        in the FAC, nor would such an allegation be plausible. See Lee v. City of Los Angeles, 250 F.3d

         20        668, 688 (9th Cir. 2001) (“[W]hen the legal sufficiency of a complaint’s allegations is tested by a

         21        motion under Rule 12(b)(6), [r]eview is limited to the complaint.”). Placing time clocks outside

         22        of the screening area would not capture only what Plaintiffs contend is compensable screening

         23        time, but also the time associates spend socializing, talking to friends or peers, or engaging in any

         24        other noncompensable activity. That means it would be administratively difficult to even capture

         25        the screening time accurately.

         26               Finally, citing Cadena v. Customer Connexx LLC, 107 F.4th 902, 911 (9th Cir. 2024),

         27        Plaintiffs argue that Amazon faces an “impossible” burden to show that any time was de minimis

         28        at the pleadings stage. Opp. 21. That is wrong given the admissions in the complaint regarding
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            1      the length of the screenings at issue here. Plaintiffs allege that the entire screening process resulted

            2      in no more than a four- to nine-minute delay. See FAC ¶¶ 24, 26. By contrast, in Cadena,

            3      employees offered time estimates of up to 30 minutes, which led the Ninth Circuit to determine

            4      that “the total uncompensated time could be ‘substantial’ over time.” 107 F.4th at 914. And

            5      contrary to Plaintiffs’ assertion that it would be premature for Amazon to establish that time spent

            6      in screening is de minimis, courts regularly apply the de minimis exception at the motion to dismiss

            7      stage where, as here, the allegations of the complaint make clear that the uncompensated time is

            8      de minimis. Busk v. Integrity Staffing Sols., Inc., 713 F.3d 525, 532 (9th Cir. 2013), rev’d on other

            9      grounds, 574 U.S. 27 (2014); Perez v. Wells Fargo & Co., 2015 WL 1887354, at *8 (N.D. Cal.

         10        Apr. 24, 2015) (dismissing claim on de minimis grounds).

         11                       d.      Plaintiffs’ Collateral Estoppel Argument Is Meritless

         12               Unable to explain how they have stated a plausible claim, Plaintiffs assert in entirely

         13        conclusory fashion that Amazon is precluded under the doctrine of collateral estoppel from

         14        disputing that meal period screenings are “work” under the FLSA. Opp. 7–8. The Court should

         15        reject this undeveloped argument because there is no basis to apply collateral estoppel here.

         16               Collateral estoppel “bars successive litigation of an issue of fact or law actually litigated

         17        and resolved in a valid court determination essential to the prior judgment.” White v. City of

         18        Pasadena, 671 F.3d 918, 926 (9th Cir. 2012) (citation omitted). Because Plaintiffs contend that

         19        collateral estoppel applies based on two prior federal court decisions—Busk v. Integrity Staffing

         20        Solutions, Inc., 905 F.3d 387 (6th Cir. 2018) and Thomas v. Amazon.com Services Inc., 462 F.

         21        Supp. 3d 828 (N.D. Ohio 2020)—“[f]ederal common law . . . applies.” Media Rights Techs., Inc.

         22        v. Microsoft Corp., 922 F.3d 1014, 1020–21 & n.6 (9th Cir. 2019).

         23               Plaintiffs claim that in Busk Amazon “litigated the issue of whether time spent performing

         24        mandatory meal break . . . security screening was compensable for FLSA purposes,” and so

         25        Amazon is foreclosed from challenging the sufficiency of Plaintiffs’ meal break screening claim.

         26        Opp. 8. But the issue “necessarily decided” in Busk is not “identical to the one which is sought to

         27        be relitigated” here. Granite Rock Co. v. Int’l B’hood of Teamsters, 649 F.3d 1067, 1070 (9th Cir.

         28        2011); see also, e.g., Eureka Fed. Sav. & Loan Ass’n v. Am. Cas. Co., 873 F.2d 229, 233–35 (9th
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            1      Cir. 1989) (collateral estoppel not available when the issues were different).

            2             In Busk, the plaintiffs alleged that they were required to undergo security screening that

            3      “took approximately 25 minutes each day” and they were “required to under the same security

            4      clearance prior to taking their lunch breaks” as at the end of their shifts. 905 F.3d at 392.

            5      Therefore, the Sixth Circuit was only addressing whether “mandatory security screenings”—and

            6      specifically ones that allegedly took approximately 25 minutes and were required during each

            7      lunch break—were compensable under Nevada law. Id. at 398–99. But here, Plaintiffs alleges

            8      that “Amazon allowed [associates] to stay in for the Meal Period and eat their meal without

            9      submitting to that Meal Period Security Screening.” FAC ¶ 23 (emphasis added). Because the

         10        Sixth Circuit in Busk was assessing an entirely different set of alleged facts than the ones here, and

         11        its conclusion that allegations of lengthy, compulsory screenings during meal periods were

         12        compensable under Nevada law has no preclusive effect in this case.

         13               Plaintiffs’ reliance on Thomas to support their collateral estoppel argument also fails for

         14        two independent reasons. First, Thomas did not result in a final judgment on the merits. Instead,

         15        after denying Amazon’s motion for judgment on the pleadings, the court later dismissed the case

         16        after concluding it lacked subject matter jurisdiction. Thomas v. Amazon.com Servs., Inc., 561 F.

         17        Supp. 3d 740, 746–47 (N.D. Ohio 2021); see also Opp. 8 & n.6. Collateral estoppel requires that

         18        the “first proceeding ended with a final judgment on the merits,” Granite Rock, 649 F.3d at 1070,

         19        and “[a] dismissal for lack of subject matter jurisdiction is not a final judgment on the merits,” In

         20        re Brooks-Hamilton, 271 F. App’x 654, 657 (9th Cir. 2008) (citing Fed. R. Civ. P. 41(b)); see also

         21        United States v. Park Place Assocs., Ltd., 563 F.3d 907, 925 n.11 (9th Cir. 2009) (holding that

         22        “doctrine of collateral estoppel [wa]s inapplicable” where prior actions were dismissed for “lack

         23        of subject matter jurisdiction”).

         24               In any event, Thomas also did not adjudicate an “identical” issue. In Thomas, the plaintiffs

         25        “alleged that the pre-lunch security screenings were mandatory.” 462 F. Supp. 3d at 838. Amazon

         26        asserted, as alleged in its answer, that associates could take meal breaks within a secured area

         27        without going through screening. Id. But the Court concluded that the plaintiffs’ contrary

         28        allegations that the screenings were mandatory had to “be accepted as true.” Id. Unlike the
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            1      plaintiffs in Thomas, Plaintiffs do not allege that meal period screenings were mandatory; instead,

            2      the complaint admits associates had a choice of where to take their meal periods and thus a choice

            3      as to whether to be subject to screening. FAC ¶ 23. Therefore, even if Thomas could have

            4      preclusive effect, like Busk it turned on allegations that are materially different than those here and

            5      thus any issue it decided cannot have any preclusive effect here.

            6             2.      Walking To And From Breakrooms Is Not Compensable Under The FLSA

            7             Plaintiffs’ next FLSA theory—that time spent walking between time clocks and the

            8      secondary breakrooms is compensable under the FLSA—likewise fails as a matter of law. See

            9      Mot. 11–12. Plaintiffs’ cursory defense of this theory of compensable time is based on their

         10        contention that the Ninth Circuit in Busk did not address whether the time spent walking to the

         11        lunchroom was required by Amazon or was voluntary, which supposedly makes Busk inapplicable.

         12        Opp. 17. But as with security screening, Plaintiffs are not “required” to walk to breakrooms and

         13        time spent walking during meal periods is not “primarily for the benefit of the employer.”

         14        Bamonte, 598 F.3d at 1224–25. Instead, as Plaintiffs concede, Amazon permits Plaintiffs to either

         15        leave the premises or to take their breaks at a breakroom. Opp. 17; see supra 2–3. This choice

         16        “serves primarily to benefit the employee” and confers “no benefit on Amazon.” Vaccaro, 2020

         17        WL 3496973, at *6.

         18               But even if the walking time at issue constitutes work, the Ninth Circuit’s decision in Busk

         19        precludes any argument that this was an integral or indispensable work task. In Busk, the plaintiffs

         20        alleged that the employer placed “the time clocks far from the lunchroom,” forcing employees to

         21        “walk to the lunchroom in order to each lunch” while off the clock. Busk, 713 F.3d at 532. But

         22        the Ninth Circuit held that “walking to the lunchroom is not a work duty” because “it is not

         23        necessary to the plaintiffs’ principal work as warehouse employees.” Id.

         24               In any event, Plaintiffs have failed to plausibly allege that any time walking to or from the

         25        secondary breakrooms is more than de minimis. By Plaintiffs’ own admission, it would take

         26        “approximately two to five minutes” to walk from the time clocks to the secondary breakrooms.

         27        FAC ¶ 25. Even if this time was otherwise compensable, the time spent is de minimis under the

         28        Lindow factors. Alvarez, 339 F.3d at 904; see supra 6–7.
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            1             3.      Clocking In At The End of Meal Periods Is Not Compensable

            2             Plaintiffs largely drop their final FLSA theory that time spent waiting to clock in from meal

            3      periods is compensable, instead saying in a footnote that “[t]hese times are explained in the FAC.”

            4      Opp. 6 n.4. Given that Plaintiffs’ opposition at best “merely reiterates the allegations set forth in

            5      the Complaint,” Plaintiffs have “failed to respond properly to [Amazon’s] Motion” and Amazon’s

            6      “Motion can be granted” on these grounds. Harvey v. Washington Mut. Bank, F.A., 2011 WL

            7      2415189, at *1 (D. Nev. June 10, 2011). This is because “Plaintiffs’ failure to oppose [a] portion

            8      of [a] Defendant’s motion constitutes consent to the granting of Defendant’s Motion.” Bartley v.

            9      Wells Fargo Bank, 2014 WL 664660, at *4 (D. Nev. Feb. 18, 2014).

         10               Regardless, this theory, like those above, fails under all three FLSA prongs. Mot. 12–14.

         11        This activity does not constitute work because it is part and parcel of taking an off-the-clock meal

         12        period that benefitted associates, not Amazon. Mot. 12. It also is not integral or indispensable to

         13        Plaintiffs’ principal activities. Mot. 13. As Cadena v. Customer Connexx LLC puts it, “where the

         14        employer could do away with [the challenged activity] without impairing the warehouse

         15        employees’ ability to retrieve and package products” there is an insufficient “relationship to the

         16        employees’ principal duties” for compensation under the FLSA. 51 F.4th 831, 839 (9th Cir. 2022).

         17        Finally, the “one to three minutes” it allegedly took Plaintiffs to “que [sic] up at an Amazon punch

         18        clock” is de minimis under the Lindow factors. FAC ¶ 29; Mot. 13–14; supra 7–8.

         19        B.     Plaintiffs’ Nevada Law Claims Fail As A Matter of Law

         20               Plaintiffs’ Nevada state law claims fail because the same theories would fail under the

         21        FLSA. Mot. 14–18. Plaintiffs do not dispute that Nevada law tracks the FLSA, and therefore their

         22        Nevada claims for the time spent in meal period screening, walking to and from secondary

         23        breakrooms, and waiting to clock in at the end of meal periods fail for the same reasons they fail

         24        under the FLSA. Mot. 16.

         25               Plaintiffs’ final state law theory is that they are entitled to compensation for postliminary

         26        security screening, and it fares no better. This compensable time argument is not viable under the

         27        Portal-to-Portal Act, which Amazon contends that Nevada law incorporates (given that it generally

         28        tracks federal law in this area). Mot. 16–18. Plaintiffs do not attempt to address the substance of
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            1      Amazon’s arguments, instead simply asserting that the Sixth Circuit in Busk and Judge Traum in

            2      Malloy concluded that Nevada does not incorporate the Portal-to-Portal Act. Neither decision is

            3      binding on this Court. See Camreta v. Greene, 563 U.S. 692, 709 n.7 (2011) (“A decision of a

            4      federal district court judge is not binding precedent.”); Zuniga v. United Can Co., 812 F.2d 443,

            5      450 (9th Cir. 1987) (“District courts are . . . bound by the law of their own circuit.”). Further, as

            6      Amazon has explained, the Sixth Circuit’s divided decision in Busk is wrong. Mot. 17–18. And

            7      while the court in Malloy concluded that the Nevada does not incorporate the Portal-to-Portal Act,

            8      it has recognized that this is “an unsettled question of state law” such that certification of this issue

            9      to the Nevada Supreme Court was appropriate. Malloy v. Amazon.com Servs., LLC, 2024 WL

         10        3276274, at *2–3 (D. Nev. July 1, 2024). Plaintiffs have therefore provided no basis beyond mere

         11        conclusions to conclude that Nevada law does not incorporate the Portal-to-Portal Act.

         12        C.      This Court Should Alternatively Stay This Case Pending The Nevada Supreme

         13                Court’s Decision In Malloy

         14                The Court can dismiss the case for the reasons noted in Amazon’s motion but, at a

         15        minimum, the Court should stay this case until the Nevada Supreme Court resolves the certified

         16        question in Malloy of whether Nevada law incorporates the Portal-to-Portal Act. Mot. 18–20.

         17        Plaintiffs’ sole response is that this case should not be stayed because they allege “FLSA violations

         18        that are not within the scope of the Portal-to-Portal [A]ct.” Opp. 22. That the certified question

         19        in Malloy may not be fully dispositive of this entire action does not mean a stay is unwarranted.

         20                Staying this case pending the certified question in Malloy will resolve potentially

         21        dispositive questions of law and simplify the issues. Even if the FLSA claims are not impacted by

         22        Malloy, all claims need not be identical in order to warrant a stay—the question is whether a stay

         23        will simplify the issues, proof, or questions of law. There is no question here that they will. The

         24        parties disagree over whether Nevada law follows the Portal-to-Portal Act, and the Nevada

         25        Supreme Court will definitively resolve that question in Malloy. And that ruling will be dispositive

         26        to an entire theory of liability that Plaintiffs have advanced.

         27                A stay also will not cause any harm to the parties, especially given the “relatively brief”

         28        nature of the stay. Gong-Chun v. AETNA, Inc., 2010 WL 1980175, at *3 (E.D. Cal. May 17, 2010)
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            1      (staying wage-and-hour class action pending resolution of California Supreme Court case).

            2      Plaintiffs do not point to any harm they will incur as a result of any stay. By contrast, the court

            3      and the parties will waste resources by continuing to litigate without waiting for Malloy.

            4                                           III.   CONCLUSION

            5             The Court should dismiss the complaint in its entirety. If not, the Court should stay this

            6      case pending resolution of the certified question in Malloy.

            7
                   Dated: August 28, 2024
            8

            9                                                       /s/ Amy L. Thompson, Esq.
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         10                                                         AMY L. THOMPSON, ESQ.
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                                                                    MEGAN COONEY, ESQ.
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            1                                                 PROOF OF SERVICE

            2
                            I am a resident of the State of California, over the age of eighteen years, and not a party
            3
                   to the within action. My business address is 501 W. Broadway, Suite 900, San Diego, CA 92101-
            4
                   3577. On August 28, 2024, I served the within document(s):
            5
                                               DEFENDANT AMAZON.COM SERVICES LLC’S
            6                                  REPLY IN SUPPORT OF MOTION TO DISMISS
            7               By CM/ECF Filing – Pursuant to FRCP 5(b)(3) and LR 5-1, the above-referenced document was
                           electronically filed and served upon the parties listed below through the Court’s Case Management and
            8               Electronic Case Filing (CM/ECF) system:
            9
                       Leon Greenberg, Esq.                                          James P. Kemp, Esq
         10            Ruthann Devereaux-Gonzales, Esq                               Kemp & Kemp, Attorneys at Law
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         13
                       Attorneys for Plaintiff
         14
                            I declare under penalty of perjury that the foregoing is true and correct. Executed on
         15
                   August 28, 2024, at San Diego, CA.
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                                                                         /s/ Erin J. Melwak
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                                                                         Erin J. Melwak
         19                                                              Littler Mendelson

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